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                        No. 23-30445


 In the United States Court of Appeals
         for the Fifth Circuit
   STATE OF MISSOURI; STATE OF LOUISIANA;
AARON KHERIATY; MARTIN KULLDORFF; JIM HOFT;
     JAYANTA BHATTACHARYA; JILL HINES,
                         Plaintiffs-Appellees,
                     v.
    JOSEPH R. BIDEN, JR.; VIVEK H. MURTHY;
  XAVIER BECERRA; DEPARTMENT OF HEALTH &
    HUMAN SERVICES; ANTHONY FAUCI, et al.,
                           Defendants-Appellants,

       On Appeal from the United States District Court
            for the Western District of Louisiana
          No. 3:22-cv-1213 (Hon. Terry A. Doughty)

 BRIEF OF AMICI CURIAE STANFORD UNIVERSITY,
      ALEX STAMOS, AND RENÉE DIRESTA
          IN SUPPORT OF APPELLANTS


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   SUPPLEMENTAL CERTIFICATE OF INTERESTED PERSONS

      Pursuant to Fifth Circuit Rule 29.2, the undersigned counsel of record

for amici curiae Leland Stanford Junior University, Alex Stamos, and Renée

DiResta certifies that the following listed persons and entities, in addition to

those listed in Appellants’ and Appellees’ Certificates of Interested Persons,

have an interest in this brief. These representations are made in order that

judges of this Court may evaluate possible disqualification or recusal.

      Parent of Amici Curiae: Amicus Leland Stanford Junior University is

a private, nonprofit research university. It has no parent corporation, nor is

there any publicly held company that owns 10% of its stock.

      Amici Alex Stamos and Renée DiResta are natural persons.

      Counsel for Amici Curiae: John B. Bellinger III, Elisabeth S. Theo-

dore, R. Stanton Jones, and Stephen K. Wirth.

                                                       /s/ John B. Bellinger III
                                                       John B. Bellinger III

                                                       Counsel for Amici Curiae




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       Pursuant to Federal Rule of Appellate Procedure 29, Leland Stanford

Junior University, Alex Stamos, and Renée DiResta respectfully submit this

brief as amici curiae in support of Appellants. All parties have consented to

this filing.1

                     INTERESTS OF AMICI CURIAE

       Leland Stanford Junior University (Stanford) is a private research uni-

versity located in Stanford, California, that enrolls over 17,000 students in a

broad array of undergraduate and graduate programs. Stanford is home to the

Stanford Internet Observatory (SIO), a cross-disciplinary program that stud-

ies abuse in information technologies, especially potentially harmful infor-

mation on social media. SIO was a founding member of the Election Integrity

Partnership (EIP) and the Virality Project (VP), organizations that tracked

and studied misinformation, disinformation, and rumors concerning U.S. elec-

tions and COVID-19 vaccines, respectively. SIO’s director is Alex Stamos, and

its research manager is Renée DiResta.




1
 No party’s counsel authored this brief in whole or in part. Nor did any party
or party’s counsel, or any other person other than amici curiae or their coun-
sel, contribute money that was intended to fund preparing or submitting this
brief.
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      Amici were not named as defendants in this lawsuit, but assertions

about their conduct appear throughout the underlying complaint, which al-

leges that amici conspired with federal officials to censor speech on social me-

dia. Amici also feature prominently in the district court’s preliminary injunc-

tion decision below. The court found that SIO’s, EIP’s, and VP’s “actions are

relevant” to this lawsuit, despite not being parties, “because government agen-

cies have chosen to associate, collaborate, and partner with these organiza-

tions.” ROA.26568. And the district court enjoined the government from “col-

laborating, coordinating, partnering, switchboarding, and/or jointly working

with the Election Integrity Partnership, the Virality Project, [or] the Stanford

Internet Observatory . . . for the purpose of urging, encouraging, pressuring,

or inducing in any manner removal, deletion, suppression, or reduction of con-

tent posted with social-media companies containing protected free speech.”

ROA.26613.

      Moreover, amici have been named as defendants in a separate lawsuit

brought by two of the plaintiffs here, Jill Hines and Jim Hoft, which is pending

before the same district court. See Hines v. Stamos, No. 3:23-cv-571 (W.D.

La.). That lawsuit seeks to hold amici liable for violating the plaintiffs’ First

and Fourteenth Amendment rights (notwithstanding the fact that amici are



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not state actors), and it seeks to enjoin amici from communicating with the

government and with social media platforms about mis- and disinformation on

the Internet.

                               INTRODUCTION

      In participating in the Election Integrity Partnership and Virality Pro-

ject, amici were primarily engaged in academic research concerning the

spread of misinformation, disinformation, and rumors about U.S. elections and

the COVID-19 vaccines on social media. But they also exercised their own

right to speak about their research findings on these matters of great public

concern. There is no question that the First Amendment protects amici’s right

to collect data about, and to study, informational trends, and to alert the public,

social media platforms, and government officials to their findings—including

their view that particular posts on social media platforms are false or mislead-

ing or violate platform policies. There is likewise no disputing that the First

Amendment protects amici’s right to make public policy recommendations to

social media platforms and to government actors concerning how to address

the challenges to our democracy and to public health presented by the spread

of rumors, false narratives, and propaganda online. These are core rights—to




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speech, to academic freedom, to petition—all protected by the First Amend-

ment.

        The district court ignored amici’s rights, instead repeatedly character-

izing their speech as censorship. That is a remarkable inversion of the First

Amendment, and it is fundamentally wrong. Amici—a private research uni-

versity and two academics—have neither the legal nor practical ability to cen-

sor anyone’s speech. They are not government actors, and they have no power

to unilaterally change social media platforms’ policies, to take down posts, or

to suspend users. And even in the limited cases where amici recommended

policy changes or identified instances of potentially violative content to plat-

forms (just as other individuals do on a daily basis), the platforms always ex-

ercised ultimate decisionmaking authority.

        Beyond that, the district court’s findings of censorship—and its injunc-

tion against the federal government defendants—rest on numerous factual er-

rors about basic details of amici’s work and amici’s relationships with the gov-

ernment and social media platforms. The court’s findings are not merely erro-

neous but fundamentally undermine the decision below. The preliminary in-

junction should be reversed.




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                              BACKGROUND

      Founded at Stanford in 2019, the Stanford Internet Observatory (SIO)

is a non-partisan, cross-disciplinary program of research, teaching, and policy

engagement that studies abuse in current information technologies, with a fo-

cus on potentially harmful information on social media. Under the program

direction of Alex Stamos and research manager Renée DiResta, SIO was cre-

ated to learn about the abuse of the Internet in real time, to develop the prem-

ier curriculum on trust and safety, and to translate research discoveries into

training and policy innovations for the public good. SIO studies and publishes

research on, among other subjects, the prevalence of online child sexual abuse,

promotion of self-harm, and influence campaigns by foreign state and non-

state actors.

      In 2020, 2021, and 2022, SIO partnered with other academic and civic

organizations to convene the Election Integrity Partnership (EIP) and Vi-

rality Project (VP). The primary purpose of these programs was to conduct

academic research about informational trends on the Internet, specifically re-

lated to U.S. elections and the COVID-19 vaccines. These programs operated

transparently and publicly, publishing blogposts, weekly briefings, academic




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papers, and investigative reports related to election and vaccine misinfor-

mation, disinformation, rumors, and propaganda.

      EIP was founded in 2020 as a non-partisan research project to document

the most widespread online narratives about the 2020 election, to provide a

basis for further academic research about online misinformation dynamics and

responses, and to provide election officials with reports about what was hap-

pening online in their jurisdictions. EIP’s analysis relating to the 2020 election

was focused on demonstrable falsehoods about the time, place, and manner of

voting; threats intended to deter voting; incitement to tamper with or disrupt

election processes, such as through the impersonation of an election official;

and efforts to delegitimize valid election results without evidence. For exam-

ple, EIP analyzed false reports about poll closures, procedures for online vot-

ing, discarded ballots, and bomb threats. EIP did not study alleged falsehoods

about specific candidates, parties, or political topics.

      VP was established in 2021 for the primary purpose of studying the most

widespread narratives regarding the effectiveness and safety of the COVID-

19 vaccines. VP collected data between February and August 2021, during the

initial rollout of the COVID-19 vaccine. VP’s work focused on tracking narra-

tives related to the COVID-19 vaccines’ safety, efficacy and necessity, and



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development and distribution, as well as conspiracy theories surrounding the

vaccines. VP’s goal was to facilitate awareness for public health officials and

medical professionals seeking to communicate accurate information to the

public in a way that was responsive to online conversations.

      EIP and VP were expressly non-partisan; and neither EIP nor VP re-

ceived any government funding for their activities involving the 2020 election

or the COVID-19 vaccines. EIP cooperated with the Elections Infrastructure

Information Sharing & Analysis Center (EI-ISAC), a non-partisan nonprofit

organization that worked with state and local election officials from both major

political parties. And EIP’s final report on the 2020 election explained how

“partisans on both sides” spread the “popular misinformation narrative[]” that

“the election had been ‘stolen’ before it even took place.” ROA.13726. Although

EIP collected more instances of mis- and disinformation from right-leaning

social-media accounts, especially claims that the election was rigged or stolen

(see ROA.13863-81), its final report also documented instances of “misinfor-

mation originating and spreading almost solely via left-leaning accounts”

(ROA.13862). See, e.g., ROA.13726, 13730-31, 13749-50, 13866, 13870-71. Like-

wise, VP communicated its findings in public blogposts and reports, which

were made available to federal, state, and local public health officials without



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regard to politics or party. And VP documented vaccine-related narratives

from across the political spectrum. ROA.13973, 14004, 14032-33. Both projects

were academic research projects, not political advocacy projects.

      EIP and VP instituted numerous safeguards to ensure that their work

was carried out according to the highest academic standards and in an unbi-

ased manner so that their research findings would be valid and useful. Student

researchers received extensive training on how to apply objective criteria for

evaluating claims or narratives and were clearly instructed that partisan po-

litical issues or candidates were outside the scope of the projects. EIP and VP

also used recognized academic techniques to minimize potential researcher-

bias, including applying multiple tiers of analyst review and comparing results

of different student analysts to ensure reliability.

      EIP and VP used an internal ticketing system to identify and analyze

potential instances of false information. EIP tickets were primarily created by

undergraduate students at Stanford and the University of Washington, but

certain external organizations, including EI-ISAC, could submit potential mis-

and disinformation to EIP for review. ROA.13687-94, 13704. No government

entity submitted EIP tickets involving or suggesting censorship of purely do-

mestic speech; the State Department’s Global Engagement Center submitted



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a small number of tickets involving suspected foreign misinformation. See

ROA.13718. VP tickets functioned similarly, but were created exclusively in-

ternally; no outside organization or government entity created tickets. See

ROA.13985-87. Both EIP and VP tickets could be shared externally—includ-

ing with social media platforms or with groups like EI-ISAC (in EIP’s case)—

by “tagging” the outside organization in the ticket (thereby sharing public in-

formation on the ticket with the tagged organization). ROA.13695, 13703,

13987.

      EIP and VP did not censor or target anyone’s speech. The vast majority

of EIP’s and VP’s work consisted of researching and analyzing online infor-

mation and publishing interim reports and a final report about this research.

In limited cases, EIP and VP escalated some instances of potentially violative

content to the platforms, so that the platforms could take appropriate action

according to their own policies. But the social media platforms were the ulti-

mate decisionmakers. EIP and VP had no power to change platforms’ policies,

take down posts, or suspend users.

      Of the 639 tickets in EIP’s final dataset, “363 tickets tagged an external

partner organization to either report the content, provide situational aware-

ness, or suggest a possible need for fact-checking or a counter-narrative.”



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ROA.13713. When tickets tagged a social media platform, they “contained a

list of URLs containing the potentially violative content being spread—for ex-

ample, the URL for a Facebook post or YouTube video.” ROA.13715. “[P]lat-

forms took action on 35% of URLs that [EIP] reported to them. 21% of URLs

were labeled, 13% were removed, and 1% were soft blocked. No action was

taken on 65%.” ROA.13716. And even when the platforms did take some action,

they most often simply affixed labels to posts—like “Get the facts about mail-

in ballots,” or “Learn how voting by mail is safe and secure”—with links to

trusted sources of information. ROA.13893.

      Likewise, only a small number of VP tickets were ever flagged to any

platform. Of the 911 tickets in VP’s final dataset, only “174 were referred to

platforms for potential action.” ROA.13987. This process enabled VP to give

platforms “situational awareness of high-engagement material that appeared

to be going viral, so that these partners could determine whether something

might merit a rapid public or on-platform response (such as a label).”

ROA.13987. In other words, EIP and VP merely alerted platforms to instances

of viral claims that potentially violated their policies; the platforms always had

the final say about if or how to respond.




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                                  ARGUMENT

I.    The District Court’s Injunction Burdens Amici’s First Amendment
      Rights

      The district court enjoined the government from “collaborating, coordi-

nating, partnering, switchboarding, and/or jointly working with the Election

Integrity Partnership, the Virality Project, [or] the Stanford Internet Obser-

vatory . . . for the purpose of urging, encouraging, pressuring, or inducing in

any manner removal, deletion, suppression, or reduction of content posted

with social-media companies containing protected free speech.” ROA.26613.

Although it binds only the named federal agencies and officials, the injunc-

tion—and the mistakes of law and fact that it is based on—significantly bur-

dens amici’s ability to communicate with the government on matters of excep-

tional public concern and threatens amici with civil liability for their own con-

stitutionally protected speech.

      A. Amici are deeply committed to contributing to the public good and

addressing today’s most pressing societal challenges, including the integrity

of U.S. elections and public-health responses to the COVID-19 pandemic. The

ability of academic research programs like SIO, EIP, and VP to speak freely

with government actors about their research findings is vital to their work. It

allows them to disseminate valuable research findings to policymakers and


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apply academic expertise to real-world problems, and they can learn from elec-

tion and public-health officials with boots-on-the-ground experience. Moreo-

ver, non-governmental institutions like SIO, EIP, and VP are often best able

to apply cutting-edge research and technology to respond to emergent chal-

lenges. The open exchange of ideas between academic institutions and govern-

ment (whether relating to elections, COVID-19 vaccines, foreign interference,

or any other subject of national importance) allows for a diversity of perspec-

tives and approaches in addressing monumentally complex challenges like

mis- and disinformation regarding elections and vaccines. It produces effective

and evidence-based policymaking. And it provides unique educational oppor-

tunities for students to gain valuable practical experience and prepare for fu-

ture careers in these areas of critical importance.

      The district court’s injunction not only limits SIO’s, EIP’s, and VP’s abil-

ity to speak freely to the government (by prohibiting the government from

engaging with them), it hinders their ability to fulfill their core mission of ad-

vancing knowledge, educating students, and serving the public good. It limits

universities’, students’, and faculty’s ability to participate in the democratic

processes by speaking with government representatives. It limits government

actors from leveraging private resources and expertise to address today’s



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greatest societal challenges. It limits the input of subject-matter experts and

researchers into matters of undeniable public concern, leading to less-in-

formed and less-effective policymaking. And it limits students’ access to valu-

able pedagogic, academic, and career opportunities. These are all values and

freedoms the First Amendment protects.

      Throughout its decision, the district court ignored SIO’s, EIP’s, and

VP’s First Amendment rights, instead characterizing their speech as “censor-

ship” (e.g., ROA.26529, 26534, 26538-39)—even though they are not govern-

ment actors—and their policy recommendations as “call[s] for expansive cen-

sorship of social-media speech” (ROA.26537). That characterization is funda-

mentally wrong. At no time did EIP or VP ever censor speech or call for the

censorship of speech. Nor did EIP or VP ever take down social-media posts or

apply labels to posts or have any power to do so. Instead, EIP’s and VP’s work

was overwhelmingly devoted to researching and analyzing online information

and publishing reports about their research; very little of their time was spent

interacting with social media platforms or the government in any capacity.

And even when EIP and VP referred content to the platforms, in the over-

whelming majority of cases, the platforms either did nothing (65%) or simply

applied a label to the post (21%). ROA.12939. Crucially, the platforms—not



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EIP or VP—always exercised ultimate control over their policies and content-

moderation decisions. EIP’s and VP’s speech to social media platforms about

content on those platforms is not censorship; it is protected speech.

      B. Aside from the injunction’s significant burdens on amici’s ability to

speak to and engage with the government freely, the district court’s decision

also threatens amici with civil liability for their own constitutionally protected

speech. Although the preliminary injunction runs only against the named fed-

eral agencies and officials, the district court’s reasoning is not so limited. The

court’s reasoning—which is legally erroneous for the reasons explained in the

government’s brief—could empower plaintiffs, like those who have sued

amici, to hold academic institutions liable for speaking or petitioning, or to

enjoin them from speaking or petitioning, about matters of public concern on

the basis of the content of their speech, contrary to long-established First

Amendment precedents. See Snyder v. Phelps, 562 U.S. 443, 451, 458 (2011)

(holding that “the First Amendment prohibits holding [defendant] liable for

its speech” in state tort lawsuit); Video Int’l Prod., Inc. v. Warner-Amex Cable

Comm’ns, Inc., 858 F.2d 1075, 1083-84 (5th Cir. 1988) (holding that the First

Amendment barred § 1983 lawsuit); Barnes Found. v. Township of Lower




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Merion, 242 F.3d 151, 160-61 (3d Cir. 2001) (collecting cases in which the First

Amendment barred § 1983, and § 1985 claims).2

      It is well settled that speech concerning public affairs “occupies the high-

est rung of the hierarchy of First Amendment values, and is entitled to special

protection.” Snyder, 562 U.S. at 452 (cleaned up). Amici’s speech about mis-

and disinformation related to elections and COVID-19 vaccines falls squarely

within this category of specially protected speech. “Political speech regarding

a public election lies at the core of matters of public concern protected by the

First Amendment.” Wiggins v. Lowndes Cnty., 363 F.3d 387, 390 (5th Cir.

2004). And speech about COVID-19 vaccines is part of “an ongoing public de-

bate” regarding safe and effective responses to the COVID-19 pandemic.

Snyder, 562 U.S. at 458. As Appellees themselves acknowledge, these are

“matters of overwhelming public importance.” Appellees’ Opp. to Mot. for

Stay Pending Appeal 10. Accordingly, amici’s speech—to the public, to social

media platforms, and to the government—concerning mis- and disinformation

related to elections and COVID-19 vaccines “is entitled to special protection.”



2
  Amici have numerous additional defenses to the lawsuit pending against
them (Hines v. Stamos) that were not addressed by the preliminary injunction
in this case and that amici intend to raise in the district court in forthcoming
motions.

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Snyder, 562 U.S. at 452 (cleaned up). The district court’s decision entirely ig-

nores amici’s First Amendment rights to free speech and academic freedom.

Instead, the court mischaracterized amici’s work with EIP and VP as “cen-

sorship” (ROA.26529, 26534, 26538-39)—which, as explained, these organiza-

tions had no power to do—rather than constitutionally protected speech on

matters of public concern.

      Moreover, if the district court were to enter an injunction against amici

like the injunction here, it would constitute an unconstitutional prior restraint.

That is not a hypothetical threat: The plaintiffs in the parallel litigation against

amici seek to permanently enjoin amici from speaking on matters of public

concern based on the content and viewpoint of their speech. See Compl.,

Prayer for Relief C, Hines v. Stamos, No. 3:23-cv-571 (W.D. La.). A “prede-

termined judicial prohibition restraining specified expression” of this nature

is a presumptively unconstitutional prior restraint. Bernard v. Gulf Oil Co.,

619 F.2d 459, 466 (5th Cir. 1980), aff’d, 452 U.S. 89 (1981) (quotation marks

omitted).

      The speech that the plaintiffs here and in Hines v. Stamos seek to en-

join—amici’s speech on matters of public concern—enjoys “special” First

Amendment protection. Snyder, 562 U.S. at 452. The Court should make clear,



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in reversing the decision and injunction entered by the district court, that

amici enjoy their own First Amendment rights and that they cannot be pun-

ished for, or enjoined from, speaking to the public, to social media platforms,

or to the government about mis- and disinformation on the Internet.

II.   The District Court’s Factual Findings Concerning Amici Are Not
      Supported by the Record

      The district court’s erroneous legal conclusions flow, in part, from plain-

tiffs’ inaccurate and mistaken characterizations of the facts, many of which di-

rectly concern amici’s work and conduct. While amici lack space in this brief

to highlight them all, amici submit that the following misstatements, misquo-

tations, misattributions, and mischaracterizations of the record are most con-

cerning and merit correction by this Court, especially in light of the parallel

litigation against amici pending in the same court.

      Plaintiff Jill Hines. The court made specific (and erroneous) factual

findings about plaintiff Jill Hines that are not supported by the record. The

court stated that “Plaintiff Hines of the Health Freedom Louisiana was

flagged by the Virality Project to be a ‘medical freedom influencer’ who en-

gages in the ‘tactic’ of ‘organized outrage’ because she created events or in-

person gatherings to oppose mask and vaccine mandates in Louisiana.”

ROA.26539.


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      That statement is false. There is no evidence—not in the record, not an-

ywhere—that anyone involved with VP ever “flagged” Jill Hines or Health

Freedom Louisiana, ever shared any of their posts with a social media plat-

form, or even read their posts. The only source the court cited for this finding,

VP’s final report (see ROA.26539 n.584), identifies the concept of “health free-

dom” as “[o]ne of the primary long-standing themes of anti-vaccine distribu-

tion narratives.” ROA.14009. But nowhere does it mention Hines or Health

Freedom Louisiana or any of their posts, much less describe them as “medical

freedom influencers” who engaged in any particular tactics. Nor do any of the

numerous briefings, blog posts, reports, and other materials published by VP.

Indeed, even Hines herself does not claim that VP flagged her or her organi-

zations’ posts. See ROA.1311-16. The district court’s finding is without any fac-

tual support and clearly erroneous.

      This erroneous finding is especially concerning to amici because Hines

is a plaintiff in the parallel lawsuit pending against them, despite the fact that

her posts were never flagged by VP.

      EIP’s design and purpose. Four times in its opinion, the district court

claimed that SIO research manager Renée DiResta stated that “the EIP was

designed to ‘get around unclear legal authorities, including very real First



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Amendment questions’ that would arise if CISA or other government agencies

were to monitor and flag information for censorship on social media.”

ROA.26527; see ROA.26534, 26565, 26568. But DiResta did not state that EIP

was designed to “get around” anything; these are words the district court at-

tributed to her without any basis in the record at all. The transcript that the

district court cited to support its repeated misquotation contains no such lan-

guage. DiResta did observe: “There were unclear legal authorities, including

very real First Amendment questions” related to the government’s interaction

with online speech. ROA.14196. She merely acknowledged the uncontroversial

proposition that private institutions and persons (like amici) can take actions

that the government would not have the capacity or, in some cases, legal au-

thority to take.

      The district court’s repeated misquotation of DiResta’s statement is par-

ticularly material because it was a key basis for the court’s finding that EIP

was “designed” to “get around” the First Amendment. That finding is categor-

ically false. EIP was designed as a nonpartisan, nonpolitical academic research

project. And its purpose was to research and analyze mis- and disinformation

regarding U.S. elections and to make its findings widely available through re-

ports and peer-reviewed academic articles. Private institutions routinely carry



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out research projects and countless other activities that the government does

not have the capacity to engage in; that is a feature, not a bug, of our democ-

racy.

        Flagging “millions of social-media posts” and “almost twenty-two

million” tweets. The court fundamentally misunderstood the number of so-

cial-media posts EIP flagged as misinformation to social media platforms. The

court stated that “[t]he tickets and URLs encompassed millions of social-me-

dia posts, with almost twenty-two million posts on Twitter alone.” ROA.26536.

That is false. EIP shared a mere 4,832 URLs with all social media platforms.

ROA.13715. The 22 million tweet number was EIP’s estimate, calculated after

the project completed, of how many total tweets across all of Twitter even

mentioned one of the narratives EIP studied—for example, how many total

tweets mentioned “Dominion,” a popular false narrative. ROA.13859. These 22

million tweets could have been supportive of the narrative, a refutation, or just

a discussion. See ROA.13859. Only a tiny fraction (~0.01%) of these total

tweets were part of a ticket or were flagged as containing prospective misin-

formation in the leadup to the election. ROA.13715. And, as described above,

only a fraction of the URLs EIP shared with social media platforms resulted

in any action being taken at all. ROA.13716.



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      Flagging “truthful reports” and “exaggeration.” The court funda-

mentally misunderstood what EIP classified as mis- and disinformation. The

court stated that “EIP sometimes treats as ‘misinformation’ truthful reports

that the EIP believes ‘lack broader context.’ ” ROA.26536. That is incorrect.

EIP defined misinformation as “information that is false”—i.e., not truthful—

“but not necessarily intentionally false,” whereas disinformation is “false or

misleading information that is purposefully seeded and/or spread for an objec-

tive.” ROA.13921. The phrase “lack broader context” appeared once in EIP’s

final report, not in a general description of what EIP considered misinfor-

mation but in a single incident involving a “poll watcher [who] was wrongfully

denied entry to a Pennsylvania polling station.” ROA.13861. EIP described

that incident as misinformation in its final report because it was used by par-

tisan actors to “falsely claim that this was evidence of illegal actions taking

place in the polling station” that were “politically motivated,” when in fact the

poll watcher was not denied entry for political reasons. ROA.13861. Although

EIP noted that a video of the incident “lacked broader context,” what made it

misinformation was its use to support “false” claims. ROA.13861.

      The court also pointed to the Gateway Pundit, “one of the top misinfor-

mation websites” identified by EIP. ROA.26535. The court stated that “EIP



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did not say that the information [shared by Gateway Pundit] was false,” only

that Gateway Pundit engaged in “exaggeration.” ROA.26535. That is plainly

incorrect. For one, exaggeration—especially intentional exaggeration to cre-

ate a false narrative—is a type of falsehood. See Exaggerate, Oxford English

Dictionary, www.oed.com (“To magnify beyond the limits of truth; to repre-

sent something as greater than it really is.” (emphasis added)). In any event,

EIP in fact identified many instances of “false” information published and

shared by Gateway Pundit. E.g., ROA.13734, 13768, 13770, 13830. EIP’s as-

sessment was clear: “[Gateway Pundit] spread false narratives of election

fraud built upon misinterpretations of statistics and was active in spreading

the false Dominion conspiracy theory.” ROA.13872-73 (emphasis added). The

court did not identify a single piece of evidence supporting its erroneous find-

ing that EIP flagged posts that EIP regarded as “truthful.” ROA.26536.

      “Targeting . . . domestic speakers.” The court asserted that EIP stated

that it was “not targeting foreign disinformation, but rather ‘domestic speak-

ers.’ ” ROA.26537. This is yet another invented quotation. The source the court

purports to quote (EIP’s final report) does not use the term “domestic speak-

ers,” not on the page the court cited, not anywhere.




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      More fundamentally, neither EIP nor VP “target[ed]” “speakers” of any

sort. EIP and VP collected and analyzed instances of misinformation, disinfor-

mation, and rumors from across the Internet regardless of the source or

speaker. Once it concluded its data collection (after the 2020 election), EIP

performed an aggregate analysis of the sources of the mis- and disinformation

narratives it identified. Through that analysis, EIP concluded that “much of

the misinformation in the 2020 election was pushed by authentic, domestic ac-

tors,” as opposed to anonymous, fictitious, or foreign actors. ROA 13889,

13911. Likewise, VP determined, after concluding its data collection, that for-

eign actors’ reach “appeared to be far less than that of domestic actors.”

ROA.13959. But that post hoc analysis does not mean that EIP or VP was “tar-

geting . . . domestic speakers.” All it shows is that, based on the projects’ sub-

sequent analysis, domestic actors spread most of the instances of mis- and dis-

information EIP and VP catalogued. And there is nothing nefarious about a

domestic research organization studying domestic speech about matters of

public concern.

      SIO’s and EIP’s contacts with CISA and CIS. The district court put

great emphasis on CISA’s “relationships” with SIO, EIP, and amici.

ROA.26524. But its findings are not supported by the record and rely on



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mischaracterizations of key facts. CISA did not “c[ome] up with the idea of

having some communications with the EIP.” ROA.26524. Prior to EIP’s found-

ing, CISA interns had noted to SIO’s director, Alex Stamos, that there were

gaps in the government’s ability to respond to election-related mis- and disin-

formation. ROA.13678. Stamos then developed the idea for the EIP and

briefed CISA about it. ROA.13288; contra ROA.26524. CISA referred SIO to

the nonprofit Center for Internet Security (CIS), which received reports of

mis-information from state and local election officials. ROA.13264. And SIO

and CISA had “some conversations” during the leadup to the 2020 and 2022

elections “particularly when [SIO and EIP] were putting out public reporting

about what they were seeing.” ROA.13254.

      But there is no basis for the court’s finding that “CISA and the EIP were

completely intertwined.” ROA.26567. That finding is based primarily on the

fact that a few Stanford student researchers had internships at CISA, and one

intern sent a few emails to social media platforms “directly flagging posted

content” from a CISA email address while identifying himself as “working for

CISA.” See ROA.26528, 26567. But if a few student internships were enough

to support finding “complete[] intertwine[ment]” (ROA.26567), then every ac-

ademic institution would qualify. The University of Texas Law School is not



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“completely intertwined” with the Department of Justice because it provides

numerous legal interns and externs who may work on matters of interest to

both DOJ and legal scholars at UT.

      As to the court’s other findings—that “CISA served as a mediating role

between CIS and EIP to coordinate their efforts in reporting misinformation

to [social media] platforms” (ROA.26526), that CISA “shared information”

about instances of misinformation “with the EIP” (ROA.26527), and that CISA

“submit[ted] alleged disinformation to the EIP” (ROA.26534)—the very

sources the court cited refute them. CISA official Brian Scully (cited through-

out the court’s decision) testified that CISA did not share tips about instances

of mis- or disinformation with EIP, did not have general access to EIP tickets

identifying instances of mis- and disinformation, and did not “coordinate”

EIP’s contacts with social media platforms. See ROA.13320-24.3

      Far from being “completely intertwined” (ROA.26567), the record

demonstrates that CISA’s actual arms-length relationship with SIO—which



3
 The district court claimed that DiResta “ha[s] [a] role[] in CISA” because
“she serves as ‘Subject Matter Expert’ for CISA’s Cybersecurity Advisory
Committee.” ROA.26526. That is inaccurate and misleading. DiResta does not
have a role in CISA. She is simply listed, among many others, as an independ-
ent expert who may be available to brief one of CISA’s advisory committees
on subjects within her expertise.

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was similar to CISA’s relationships with many academic institutions

(ROA.13248-49)—was entirely normal and entirely above board. As Scully ex-

plained, “if there’s an academic research [institution] that puts out a report

that we think is of interest, . . . we try to have conversations with them to try to

understand what their research findings are.” ROA.13249. Such conversa-

tions, like those reflected in the record here, are neither uncommon nor unto-

ward.4

      VP’s contacts with the federal government. In determining that VP

was closely intertwined with federal government actors, the court put great

weight on the fact that SIO and the Office of the Surgeon General (OSG)



4
  The district court’s finding that EIP was “partially-funded by the United
States National Science Foundation [NSF] through grants” also does not sup-
port a finding of intertwinement. RAO.26534. In fact, EIP did not receive any
government grants for its work in the 2020 election, nor did VP. The SIO was
awarded one five-year grant from NSF totaling $748,437 to support research
into the spread of misinformation online during real-time events, but SIO did
not receive any grant money until 2022, long after the 2020 election and after
VP concluded its work. More importantly, NSF is not CISA. It is a nonparti-
san, independent agency that gives around $8 billion in grants to 2,000 re-
search institutions each year, representing 24% of federal funding of academic
research. The NSF grant process is transparent and gives the government no
capability to direct research results, so even if EIP 2020 or VP had received
NSF funding, that funding would not support a finding that EIP or VP is in-
tertwined with the government. Nor does NSF funding reduce the First
Amendment rights of Stanford’s researchers to publish their results, brief
government agencies, or refer policy violations to platforms.

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cohosted a “virtual townhall event” regarding the launch of OSG’s COVID-19

health advisory. But the court’s key findings lack support in the record. Most

fundamentally, the court got the very purpose of this townhall wrong. It was

not the “launch of the Virality Project” (ROA.26488), which had launched

months earlier (without OSG involvement), but a virtual town hall announcing

OSG’s health advisory. Indeed, the event did not occur on “January 15, 2021”

(ROA.26488) but on July 15, 2021—well after VP’s launch. Senior advisor to

the Surgeon General Eric Waldo (whom the court cited) expressed skepticism

that planning the event amounted to any meaningful “partnership.” See

ROA.14863 (“Renee DiResta would have been part of the planning process for

the launch event. So that’s—that might be one of the definitions of partner-

ship.”). And he disclaimed any knowledge about whether the event had taken

“many months” to plan. ROA.14863; contra ROA.26524.

      The problem with the court’s discussion of the launch event is not just

that it contains numerous factual errors. The problem is that the court placed

such emphasis on one public event—which SIO simply cohosted—that had

nothing to do with the “censorship” plaintiffs complain about.5 It is a red


5
 SIO research manager Renée DiResta spoke for only a few minutes to intro-
duce and thank Surgeon General Murthy. Surgeon General Murthy moder-
ated the panel discussion, which featured doctors and volunteers for civil

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herring. The court failed to recognize evidence that VP operated inde-

pendently from the government. VP was not funded by the government; out-

side entities did not create VP tickets, nor did VP convey to social media plat-

forms any requests from federal government agencies or officials. Rather, the

overwhelming majority of VP’s interactions with entities outside the project,

including at social media companies and in the government, was through the

distribution of VP’s publicly available weekly reports, which are freely avail-

able to this day through its website.

      EIP’s and VP’s contacts with GEC. The district court similarly mis-

characterized SIO’s, EIP’s, and VP’s contacts with the Department of State’s

Global Engagement Center (GEC). According to the district court, “GEC

works through the CISA-funded EI-ISAC and works closely with the Stanford

Internet Observatory and the Virality Project.” ROA.26533. That is wrong.

GEC did not “work[] closely with the Stanford Internet Observatory and the

Virality Project” (ROA.26533), nor was it “intertwined with the VP, EIP, and

Stanford Internet Observatory” (ROA.26568). In fact, GEC sent EIP only 17




society organizations whose communities had been impacted by COVID-19.
See Stanford Cyber Policy Center, Confronting Health Misinformation: A
Discussion with the Surgeon General, available at https://www.youtube.com/
watch?v=GUCdoXapOl0.

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tickets over the course of the entire 2020 election. And GEC sent zero tickets

to VP. More broadly, the record simply does not support the court’s conclusion

that GEC “work[ed] closely” with either project, much less that “GEC w[as]

intertwined with the VP, EIP, and Stanford Internet Observatory.”

ROA.26568.

                               CONCLUSION

      The district court’s findings are based upon conjecture, misunderstand-

ings, and, in at least two instances, invented quotations never uttered by

amici. The injunction violates the First Amendment rights of Stanford Uni-

versity and its researchers, and has cast a chill across academia as an example

of political targeting of disfavored speech by state governments and the fed-

eral judiciary. The Court should reverse the decision below.


Dated: July 28, 2023                    Respectfully submitted,

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                        CERTIFICATE OF SERVICE

      I hereby certify that, on July 28, 2023, I electronically filed the foregoing

brief with the Clerk of the Court by using the appellate CM/ECF system. I

further certify that the participants in this case are CM/ECF users and that

service will be accomplished by using the appellate CM/ECF system.



Dated: July 28, 2023                           /s/ John B. Bellinger III
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                       CERTIFICATE OF COMPLIANCE

      This brief contains 5,852 words, excluding the parts of the brief ex-

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the typeface requirements of Federal Rule of Appellate Procedure 32(a)(5)

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